                 EXHIBIT A


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NYSCEF DOC. NO. 5                                                                                                                                                           RECEIVED NYSCEF: 05/16/2019




          STATE              OF        NEW            YORK
          SUPREME                      COURT                       :         COUNTY                 OF         ERIE




          BILLY         EVANS                 AND            HEATHER                         EVANS
          INDIVIDUALLY                            AND         AS            NATURAL
          GUARDIANS                          OF       OMARION                         EVANS
          OMARION                     EVANS,                 an        infant
          9235        Waterman

          Angola,            NY        14006                                                                                                              AMENDED
                                                                                                Plaintiffs,                                               VERIFIED                 COMPLAINT
                        vs                                                                                                                                                        0        20R|80B2


          SOUTHTOWNS                                CATHOLIC                         SCHOOL
          2052        Lakeview                    Road

          Lakeview,               NY          14085


          JAMISON                 LI VECCHI,                       an        infant
          BY MICHAEL                         LI     VECCHI                   AND           CLARA               Li    VECCHI,
          HIS       PARENTS                       AND         NATURAL                        GUARDIANS
          5390        Old        Lakeshore                    Road

          Lakeview,               NY          14085
                                                                                                Defendants.




                                        Plaintiffs,                    as    in for        their        complaint              against          the    Defendants                states       as    follows:




                                        1.                  That            at all times                hereinafter            mentioned,              Plaintiffs         were        residents           of the

          Town         of    Hamburg,                    County               of      Erie      and        State         of    New       York.




                                        2.                  That            the      Defendants,                     SOUTHTOWNS                         CATHOLIC                  SCHOOL,                  upon

          information                 and         belief,         is an           entity      doing          business            in the         Town     of    Hamburg,                Country        of    Erie

          and       State        of    New           York.




                                        3.                  Upon             information                  and        belief,     the     Defendant,                 JAMISON,              is and          was      a

          student           at   SOUTHTOWNS                                       CATHOLIC                   SCHOOL                at    all    time    herein           after     mentioned.




                                        4.                  That             the           Plaintiff,               infant        OMARION,                    was          a     student             of      the

          SOUTHTOWNS                               CATHOLIC                         SCHOOL                    in    December,                  2018     and      prior      thereto.




                                        5.                  Upon            information                  and        belief,      the     Defendant,            JAMISON,                 was       a student

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          at    SOUTHTOWNS                               CATHOLIC                        SCHOOL                     in     December                  of        2018          and      prior           thereto.




                                        6.                That,          upon              inforñ7ation                    and       belief,             the         officials            at        SOUTHTOWNS

          CATHOLIC                    SCHOOLS                       directed                 JAMISON                       to      escort           students                  at     the            SOUTHTOWNS

          CATHOLIC                SCHOOL                      to    the        bathroom                   in       December                  2018              and       prior       thereto.




                                        7.                That,          upon              information                     and       belief,             the         officials            at        SOUTHTOWNS

          CATHOLIC                SCHOOLS                          knew            or     should          have             known            that        the         infant         Defendant,                  JAMISON,

          was        sexually         abusing               the     students                   at the          SOUTHTOWNS                                  CATHOLIC                       SCHOOL                    when           he

          escorted          them             to    the      bathroom.




                                      8.                  That,          specifically,                    the            infant          JAMISON                     fondled              the         penis         of    infant

          OMARION                EVANS                on      numerous                     occasions                     when        he      escorted                  the       infant         OMARION                   to the


          bathroom.




                                      9.                  That          the             Defendant,                   SOUTHTOWNS                                      CATHOLIC                         SCHOOL                   was

          responsible             for        the     safety             of the           infant      OMARION                        while          at the           SOUTHTOWNS                                 CATHOLIC

          SCHOOL                and      they            failed         in their            duty        to      insure             his    safety               by     exposing                  him       to     the     infant,

          JAMISON               who           sexually              abused                 him       on        a     regular             basis            in    December                       of    2018          and        prior

          thereto.




                                        10.               That          as     a result            of     the        negligence                    of     the         SOUTHOWNS                                CATHOLIC

          SCHOOL                and          the     acts          of        the        Defendant                   JAMISON,                       the         Plaintiff            OMARION                        has        been


          psychologically                         damaged                    and         has       suffered                     psychological                         injuries            as        a     result         of     the


          negligence             of     the         Defendant,                     SOUTHTOWNS                                     CATHOLIC                      SCHOOL                    and           the    acts      of     the


          Defendant,             JAMISON.




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                               WHEREFORE,                      Plaintiffs       seek     damages              against         the       Defendants              for    injuries

          suffered      by    the      infant   OMARION                   and    for   such     other         and       further          relief     as    to    this     Court

          seems      just    and    proper       including          the      costs     and    disbursements                   of      this     action.




          DATED:                Orchard         Park,      New        York
                               Jant:                    2019
                                                                                              Y         rs    etc.,




                                                                                                  EONARD                BERKOWITZ,                       ESQ.

                                                                                              Attorney            for     Plaintiff
                                                                                              4513           S Buffalo            Street
                                                                                               PO       Box      639
                                                                                              Orchard             Park,       New            York    14127

                                                                                              (716)          662-9808




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                                                                                          VERIFICATION




                                           I, BILLY             EVANS,                being          duly   sworn,        deposes            and        says          that        deponent           is
          the      Plaintiff           herein,          has       read          the      attached           Amended              Complaint,              and          knows            the   contents
           thereof:            that      the      same           is true         to     deponent's               own     knowledge,              except           as         to     those     matters
          deponent                   believes           it to    be     true.




                                                                                                                        BILLY        EVA




          Sworn          to     me       this           6        day
          of                                          , 2019


                                                                                                            BARBARA             M.
                                                                                                                                     COLLINS

                                                                                                                 u If    d in Er      00         ty
                                                                                                My Commission
                         Public                                                                                            Expires     May
          Notary                                                                                                                                  15,    20P




                        I, HEATHER                       EVANS,                 being         duly      sworn,         deposes         and        says         that      deponent                 is the
          Plaintiff          herein,            has     read          the   attached                 Amended             Complaint,              and      knows               the      contents
          thereof:            that      the      same           is true         to    deponent's             own         knowledge,              except           as         to     those    matters
          deponent               believes              it to     be     true.




                                                                                                                       HEATHER               E        ANS


          Sworn         to      me       this                   day
          of            fÚ                        , 2019




          Notary        Public



                                                BARBARA            M. COLUNS
                                      Notary     Public,          State of New
                                                                               York
                                              Qualified         in Erie
                                                                        County
               Case 1-20-01016-CLB,
                     My Commission       Doc 303-1, Filed 11/21/23, Entered 11/21/23 16:07:11,
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